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IN THE UNITED STATES DISTRICT
COURT FOR THE DISTRICT OF
COLORADO

Civil Action No. 22-cv-01433-WJM-KLM

PINNACLE ENTERPRISE RISK CONSULTING SERVICES, LLC,
a Colorado Limited Liability Company,

Plaintiff(s),
v. fu ZL ce JSihcty
WOODLANDS SPECIALTY HOSPITAL, LLC, Conf Orel at FTE,
a Texas Limited Liability Company,

Defendant(s).

 

SCHEDULING ORDER

 

1. DATE OF CONFERENCE
AND APPEARANCES OF COUNSEL AND PRO SE PARTIES

Date of Scheduling Conference: September 26, 2022, commencing at 10:00 a.m. in Courtroom A-

401, Fourth Floor, Alfred A. Arraj United States Courthouse, 901 19th Street, Denver, Colorado.

 
Counsel for Plaintiff:

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Counsel for Defendant:

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Leslie Sara Hyman

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2. STATEMENT OF
JURISDICTION

This court has subject matter jurisdiction in this case pursuant to 28 U.S.C. §1332. The

parties are citizens of different states and the amount in controversy exceeds $75,000. Plaintiff

asserts that personal jurisdiction and venue are proper under the Consulting Services

Agreement dated August 31, 2021 (the “Agreement”) that is the subject of this lawsuit.

Defendant denies that the Court has personal jurisdiction over Defendant or that venue

is proper in the District of Colorado and has filed a Corrected Motion to Dismiss.

3. STATEMENT OF CLAIMS AND

DEFENSES

a. Plaintiff: Plaintiff, a healthcare consulting company, and Defendant, a full-service

hospital, entered into the Agreement, under which Defendant agreed to pay Plaintiff for

enterprise risk and healthcare management support services. Plaintiff provided those services to

Defendant beginning in September 2021 and continuing through at least March 2022. Plaintiff

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invoiced Defendant for its services, and Defendant made partial payments on those amounts.
Defendant has a remaining account balance due of $325,741.94 that it refuses to pay. Plaintiff
files this action to recover the amount due under the Agreement and asserts claims for (1) breach
of contract; (2) promissory estoppel (in the alternative); and (3) unjust enrichment (in the
alternative).

b. Defendant: Plaintiff, a healthcare consulting company, entered into a Consulting
Services Agreement dated August 31, 2021, with the law firm Husch Blackwell, which
Defendant, a Texas hospital, signed solely for the purposes of payment. Plaintiff agreed to “use
all reasonable efforts to administer the services in an efficient and timely manner, and maintain
the appropriate professional standard using reasonable care, skill, and expertise.” Plaintiff
purported to provide services to Defendant in Texas, but materially breached the Agreement
because the services fell far below the quality warranted or what would have been reasonable for
a professional to provide, causing Defendant to lose money on uncollectable invoices and incur
the expense of hiring another consultant to correct Plaintiff's work. Plaintiff's claims for
promissory estoppel and unjust enrichment fail because the services provided were not valuable
or beneficial.

Other Parties: None.
4, UNDISPUTED
FACTS
The following facts are undisputed:
1, Plaintiff executed the Agreement on August 31, 2021. Defendant’s President,

Ravi Moparty, executed the Agreement on behalf of Defendant on September 2, 2021 indicating

that Defendant “Agreed for Purposes of Payment.”
3

 

 
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Plaintiff alleges that it has billed Defendant a total of 11 invoices for services rendered

5. COMPUTATION OF
DAMAGES

over the course of a seven-month period totaling $662,142.52. To date, Defendant has paid

$336,365.26 of this amount. Defendant has a remaining balance of $325,741.94.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Invoice No. Date Amount Payment Status
12273 9/30/2021 | $154,372.63 Paid

12332 10/31/2021 | $109,274.55 Paid

12333 10/31/2021 | $98,415.24 Partially paid ($22,952.55 outstanding)
12334 10/31/2021 | $58,293.42 Unpaid

12506 11/30/2021 | $59,727.67 Unpaid

12507 11/30/2021 | $95,705.95 Unpaid

12508 11/30/2021 | $32,535.06 Unpaid

12654 1/24/2022 | $13,038.70 Unpaid

12679 1/31/2022 | $5,636.56 Unpaid

12765 2/28/2022 | $12,675.01 Unpaid

12818 3/31/2022 | $22,467.73 Unpaid

 

Plaintiff also seeks to recover attorneys’ fees and costs incurred as a result of this

dispute pursuant to the Agreement and all applicable pre-judgment and post-judgment interest.

If the Court determines that Defendant is bound by the terms of the Agreement,

Defendant will seek to recover attorneys’ fees and costs incurred as a result of this dispute

pursuant to the Agreement. Defendant may also bring a counterclaim for Plaintiffs breach of

the Agreement.

6. REPORT OF PRECONFERENCE DISCOVERY
AND MEETING UNDER FED. R. CIV. P. 26(f)

a. Date of Rule 26(f) meeting.

September 19, 2022.

 
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b. Names of each participant and party he/she represented.

John Wharton and Chris Dodrill on behalf of Plaintiff. Leslie Hyman on

behalf of Defendant.

c. Statement as to when Rule 26(a)(1) disclosures were made or will be made.
October 3, 2022.

d. Proposed changes, if any, in timing or requirement of disclosures under Fed. R.

Civ. P. 26(a)(1).
The Parties stipulate to a six-week extension to the presumptive deadline to
serve Rule 26(a)(1) Disclosures.

e. Statement conceming any agreements to conduct informal discovery:

The Parties have not yet agreed to any procedures regarding informal
discovery but will consider informal discovery should the circumstances
warrant.

f. Statement concerning any other agreements or procedures to reduce discovery
and other litigation costs, including the use of a unified exhibit numbering
system.

The Parties will use a unified exhibit numbering system for deposition and trial
exhibits.

g. Statement as to whether the parties anticipate that their claims or defenses will
involve extensive electronically stored information, or that a substantial amount
of disclosure or discovery will involve information or records maintained in

electronic form.

 

 
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The Parties do not anticipate extensive production of electronically stored
information and will confer regarding a stipulated ESI order governing the
search methods and production of ESI.

h. Statement summarizing the parties’ discussions regarding the possibilities for
promptly settling or resolving the case.
The Parties have engaged in early settlement negotiations, but further
negotiations are necessary. The Parties agree to engage in further settlement
discussions following service of initial disclosures, completion of discovery, and

the resolution of Rule 12 motions practice.

7.
CONSENT

The parties are considering whether to consent to the exercise of jurisdiction of a

magistrate judge.
8. DISCOVERY
LIMITATIONS
a. Modifications which any party proposes to the presumptive numbers of

depositions or interrogatories contained in the Federal Rules.

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b. Limitations which any party proposes on the length of depositions.
As provided by FRCP 30.
C. Limitations which any party proposes on the number of requests for production

and/or requests for admission.

The Parties agree to limit requests for admission to 20 per side.

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d. Deadline for service of Interrogatories, Requests for Production of Documents
and/or Admissions:
March F303.

e. Other Planning or Discovery Orders

No opposed discovery motions are to be filed with the Court until the parties
comply with D.C.COLO.LCivR. 7.1(a). If the parties are unable to reach
agreement on a discovery issue after conferring, they shall arrange a telephone
hearing with Magistrate Judge Mix regarding the issue. Both of these steps
must be completed before any contested discovery motions are filed with the
Court.
9. CASE PLAN AND SCHEDULE
a. Deadline for Joinder of Parties and Amendment of Pleadings:

November 30, 2022.

b. Discovery Cut-off:
April 21, 2023.
c. Dispositive Motion Deadline:
May 17, 2023.
d. Expert Witness Disclosure
1. The parties shall identify anticipated fields of expert testimony, if any.
Plaintiff anticipates eliciting expert testimony in the field of healthcare
consulting services and related billing practices. Defendant also anticipates
eliciting expert testimony in the field of healthcare consulting services and

related billing practices and also anticipates eliciting expert testimony in
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the field of healthcare regulatory requirements, accounting practices and
standards, and corporate governance.

2. Limitations which the parties propose on the use or number of expert
witnesses.

The Parties agree to limit each party to three retained expert witnesses and

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3. The parties shall designate all experts and provide opposing counsel and any’ pnexyf¥—

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three non-retained expert witnesses.

pro se parties with all information specified in Fed. R. Civ. P. 26(a)(2) on or
before March 3, 2023.

4, The parties shall designate all rebuttal experts and provide opposing counsel
and any pro se party with all information specified in Fed. R. Civ. P. 26(a)(2)

on or before March 24, 2023.

 

e. Identification of Persons to Be Deposed:
Plaintiff anticipates deposing Defendant’s sole member, Ravi Moparty, and |
conducting a Rule 30(b)(6) deposition of Defendant. Plaintiff anticipates seven |
hours of on-the-record time for each deposition. Plaintiff reserves its right to
conduct additional depositions upon review of Defendant’s initial disclosures
and/or discovery of additional individuals.
Defendant anticipates conducting a Rule 30(b)(6) deposition of Plaintiff and
deposing Steven Lash, Kristen Taylor, and Brian Flood. Defendant also

anticipates deposing Plaintiff’s expert witnesses. Defendant reserves its right to
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conduct additional depositions upon review of Plaintiff's initial disclosures
and/or discovery of additional individuals.
10. DATES FOR FURTHER CONFERENCES
[The magistrate judge will complete this section at the scheduling conference if he or

she has not already set deadlines by an order filed before the conference. ]

 

a. Status conferences will be held in this case at the following dates and
times: th peodcea
b. A final pretrial conference will be held in this case on (e] f ( 7? at o’clock

{£22m. A Final Pretrial Order shall be prepared by the parties and submitted to

the court no later than seven (7) days before the final pretrial conference.

11. OTHER SCHEDULING MATTERS

a. Identify those discovery or scheduling issues, if any, on which counsel after a
good faith effort, were unable to reach an agreement.
None at this time.

b. Anticipated length of trial and whether trial is to the court or jury.
The Parties anticipate a four-day jury trial.

C. Identify pretrial proceedings, if any, that the parties believe may be more
efficiently or economically conducted in the District Court’s facilities at 212 N.
Wahsatch Street, Colorado Springs, Colorado 80903-3476; Wayne Aspinall U.S.

Courthouse/Federal Building, 402 Rood Avenue, Grand Junction, Colorado
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81501-2520; or the U.S. Courthouse/Federal Building, La Plata County
Courthouse 1060 E. 2nd Avenue, Suite 150, Durango, Colorado 81301.
None.
12. NOTICE TO COUNSEL AND PRO SE PARTIES
The parties filing motions for extension of time or continuances must comply with
D.C.COLO.LcivR 6.1(c) by serving the motion contemporaneously upon the moving attorney's
client.

Counsel will be expected to be familiar and to comply with the Pretrial and Trial
Procedures or Practice Standards established by the judicial officer presiding over the trial of
this case.

With respect to discovery disputes, parties must comply with D.C.COLo.LCivR 7.1(a).
Counsel and unrepresented parties are reminded that any change of contact information must be
reported and filed with the Court pursuant to the applicable local rule.

13. AMENDMENTS TO SCHEDULING ORDER
This Scheduling Order may be altered or amended only upon a showing of good cause
by either party.

DATED at Denver, Colorado, this 267day of de fem$e 2022.

BY THE COURT:

   
 
 

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APPROVED:

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